
In re Williams, Timothy; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of St. Martin, 16th Judicial District Court Div. B, Nos. 94-150331, 95-160591; to the Court of Appeal, Third Circuit, Nos. KH 00-01340, KH 00-01308.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
KNOLL, J., recused.
